Case 8:05-cv-01123-S_B-E_J Document 113 Filed 07/03/07 Page 1 of 9 PageID 456




                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

ERINMEDIA, LLC and
REACTV, LLC,

               Plaintiffs,

vs.                                                   Case No.: 8:05-CV-1123-T-24EAJ

NIELSEN MEDIA RESEARCH, INC.,

            Defendant.
____________________________________/

                                              ORDER

       Defendant Nielsen Media Research, Inc.’s sealed Motion to Compel Compliance with

Subpoena (S-4) and non-party Frank S. Maggio’s sealed Opposition to Nielsen’s Motion to

Compel (S-5) are before the court. Upon consideration, Nielsen’s motion to compel is DENIED.

I.     Background

       This is an antitrust case in which plaintiff erinMedia, LLC claims that through

anticompetitive conduct Nielsen has blocked its attempts to provide national television audience

measurement ratings based on data collected from cable set-top boxes. Nielsen denies these

allegations and raises the issue of whether erinMedia is an actual or potential competitor in the

market for national television ratings. If erinMedia is not, it lacks standing to pursue its claims as

a matter of law. (See Dkt. 28)

       Non-party Frank Maggio is the Chairman and owner of plaintiff erinMedia, LLC, among

other companies (“The Frank Maggio Companies”). In response to discovery, erinMedia has

produced documents obtained from its files as well as those of dismissed Defendant ReacTV, LLC

and Mr. Maggio’s personal files. On August 28, 2006, Nielsen also served Mr. Maggio personally
Case 8:05-cv-01123-S_B-E_J Document 113 Filed 07/03/07 Page 2 of 9 PageID 457




with a subpoena for the production of 17 categories of documents under Fed. R. Civ. P. 45. In the

subpoena, Nielsen defines “documents” to include all materials in the possession and control of The

Frank Maggio Companies (S-3, Ex. 4).1

       On October 2, 2006, Mr. Maggio (through his counsel who also represents erinMedia)

objected to Nielsen’s definitions of “Frank Maggio” and “The Frank Maggio Companies” as unduly

broad (S-4, Ex. 4). Mr. Maggio also objected to Requests 1 through 10, 16, and 17 of the subpoena

on the grounds that he had already performed identical searches in responding to Nielsen’s discovery

directed to erinMedia. These requests in general seek information pertaining to erinMedia’s efforts

to enter the television measurement market. Concerning Nielsen’s Requests 12 through 15, which

seek documents addressing Mr. Maggio’s personal financial resources, the value and extent of his

business interests, and his reputation in the business community, Mr. Maggio objected on burden

and relevance grounds. (S-4, Ex. 4)

       On March 14, 2007, approximately five months after receiving Mr. Maggio’s objections,

Nielsen again urged him to comply with the subpoena, and again Mr. Maggio objected that there

was no basis for him to search the files of all of his companies beyond the searches that erinMedia

and Mr. Maggio had already performed. (See S-4, Ex. 10, 11)

       Nielsen thereafter filed the instant motion to compel.



       1
            The subpoena defines “Frank Maggio” to include “his companies, predecessors,
successors, divisions, departments, partners, employees, agents, officials, representatives, associates,
consultants, brokers, attorneys, advisors, accountants and all persons and entities acting pr
purporting to act on his behalf.” (S-4, Ex. 3 at 3) The “Frank Maggio Companies” are defined to
include “without limitation, current and former subsidiaries, divisions, departments, operating
unites, partners, directors, shareholders, employees, officers, agents, officials, representatives,
associates, consultants, brokers, attorneys, advisors, accountants and all persons and entities acting
or purporting to act on its behalf.” (Id.)

                                                   2
Case 8:05-cv-01123-S_B-E_J Document 113 Filed 07/03/07 Page 3 of 9 PageID 458




II.    Analysis

       Rule 45, Fed. R. Civ. P., governs discovery of non-parties by subpoena. If an objection is

made, the party serving the subpoena is not entitled to the documents at issue but may, upon notice

to the person commanded to produce, seek an order to compel the production. Fed. R. Civ. P.

45(c)(2)(B). The scope of permissible discovery under Rule 45 is that set forth in Fed. R. Civ. P.

26(b)(1), which was amended in 2000 to provide that “Parties may obtain discovery regarding any

matter, not privileged, that is relevant to the claim or defense of any party . . .” Further, “for good

cause shown, the court may order discovery of any matter relevant to the subject matter involved

in the action.” Fed. R. Civ. P. 26(b)(1), (emphasis supplied); see also Fed. R. Civ. P. 45d)(1),

Advisory Committee Note (“[t]he changes make it clear that the scope of discovery through a

subpoena is the same as that applicable to Rule 34 and other discovery rules.”).

       The rule change was to involve the court more actively in regulating the breadth of sweeping

or contentious discovery. Fed. R. Civ. P. 26, Advisory Committee Note. The Advisory Committee

intended by the rule change for the parties and the court to focus “on the actual claims and defenses

involved in the action.” The rule change signals to the court that “it has the authority to confine

discovery to the claims and defenses asserted in the pleadings . . .” Rule 26, Fed. R. Civ. P.,

Advisory Committee Note.

       With regard to the burden imposed on non-parties in responding to discovery requests, courts

consider the following factors: relevance, the requesting party’s need for the documents, the breadth

of the document request, and the time period covered by the request. See Cytodyne Tech., Inc. v.

Biogenic Tech., Inc., 216 F.R.D. 533, 535 (M.D. Fla. 2003), citing Farnsworth v. Proctor & Gamble

Co., 758 F.2d 1545 (11th Cir. 1985).


                                                  3
Case 8:05-cv-01123-S_B-E_J Document 113 Filed 07/03/07 Page 4 of 9 PageID 459




       A.       Requests 1 through 10, 16 and 17

       In its motion to compel, Nielsen concedes that Requests 1 through 10, 16, and 17 of the

subpoena are largely identical in substance to Nielsen’s First Request for Production of Documents

directed to erinMedia (S-4 at 10).2 Nielsen argues at length that the requests are relevant because

erinMedia has already responded to the same discovery requests without questioning their relevancy

and because the requests address erinMedia’s contention that it is a competitor in the relevant market

and that Nielsen has blocked its attempts to compete. Nielsen next maintains that its requests are

not unduly burdensome because the need for the information outweighs any burden imposed on Mr.

Maggio in producing the documents. Nielsen makes clear that it is not requesting that Mr. Maggio

produce documents that erinMedia has already produced in discovery.

       The court agrees that the requests enumerated above seek relevant information.3 In his

response to Nielsen’s motion to compel, however, Mr. Maggio does not dispute this. Instead, he

contends that he has already searched all of his personal files and the files of his companies that

might reasonably contain responsive documents dating from the inception of erinMedia in 1999

through March 2006, the cutoff date the parties agreed upon (S-4, Ex. 4 at 5-6). Mr. Maggio argues

that he should not be required to search the files of all of his companies not connected with this case.

       Upon consideration of the relevant factors, Nielsen’s motion to compel as to Requests 1

through 10, 16 and 17 is denied. Mr. Maggio represents that erinMedia has already produced

responsive documents from its files and from the files of Mr. Maggio and “other custodians” dating


       2
           Nielsen represents that it no longer seeks documents in response to its Request No. 11.
       3
          Specifically, Requests 1, 3 through 8, and 10 pertain to whether erinMedia has ever entered
or attempted to enter the market for national television ratings, and Requests 2, 9, 16 and 17 are
relevant to erinMedia’s position that Nielsen has engaged in anticompetitive conduct.

                                                   4
Case 8:05-cv-01123-S_B-E_J Document 113 Filed 07/03/07 Page 5 of 9 PageID 460




from the inception of erinMedia in 1999 through March 2006, the cutoff date the parties agreed upon

(S-4, Ex. 4 at 5-6). Specifically, Mr. Maggio states that he produced documents from his personal

files “without regard to any company lines.” (Id. at 6). Mr. Maggio apparently has one office from

which he runs all of his companies; he maintains that in responding to requests targeting erinMedia,

he searched and produced all files in the office he reasonably believed contained responsive

documents.4 Nielsen does not explain why it believes that The Frank Maggio Companies, many of

which are involved in real estate development and not television audience measurement, possess or

control responsive documents. Moreover, in light of Mr. Maggio’s representation that he has

produced all responsive, non-privileged documents from his and erinMedia’s files, Nielsen has not

demonstrated a need for the information that outweighs the burden imposed on Mr. Maggio if he

were required to search all of his companies’ files for responsive information.

           The court also notes that Nielsen’s letter to Mr. Maggio in response to his subpoena

objections addresses only Requests 12 through 15 (S-4, Ex. 10). Thus, Mr. Maggio was not on

notice that Nielsen’s motion to compel would involve his objections to Requests 1 through 10, 16,

and 17, as required by Fed. R. Civ. P. 45(c)(2)(B).

       Therefore, Nielsen’s motion to compel as to Requests 1 through 10, 16 and 17 is DENIED.

       B.       Requests 12 through 15

       These requests concern Mr. Maggio’s personal finances and business reputation.

Specifically, Request 12 asks for documents showing Mr. Maggio’s current net worth and financial

resources. Request 13 seeks documents demonstrating the extent of Mr. Maggio’s and his


       4
        Mr. Maggio also clarifies in his objections to the subpoena that he is not withholding any
documents from Nielsen on the grounds that they are in his personal files and not those of
erinMedia.

                                                 5
Case 8:05-cv-01123-S_B-E_J Document 113 Filed 07/03/07 Page 6 of 9 PageID 461




companies’ business interests, including real estate holdings, holdings in other companies, joint

ventures, and any other business venture. Request 14 seeks documents reflecting statements by any

person concerning Mr. Maggio’s honesty, integrity, business competence, or reputation in the

business community, and Request 15 concerns any alleged violation of law by Mr. Maggio or his

companies.

       Nielsen argues that erinMedia placed these matters squarely at issue when it announced

through an online source in February 2007 (after the date of the subpoena) that Nielsen’s recent

unveiling of its Digital Plus technology thwarted erinMedia’s efforts to attract investment to its

technology ventures. Nielsen contends instead that rumors surrounding Mr. Maggio’s business

tactics are the true reason investment in erinMedia fell through. More specifically, Nielsen’s

position is that these topics are directly relevant to erinMedia’s claims that it is or was a potential

competitor of Nielsen’s, and production of the documents would not impose an undue burden on Mr.

Maggio under Fed. R. Civ. P. 45. Nielsen claims it has no other method of conducting discovery

related to the issue of whether an alternative explanation for erinMedia’s lack of funding exists.

       Mr. Maggio counters that documents concerning his personal finances and ability to fund

erinMedia are irrelevant to the case. Nielsen’s attempts to paint Requests 12 through 15 as relevant

are improper, according to Mr. Maggio, because the February 2007 online article Nielsen cites as

placing Mr. Maggio’s personal affairs at issue was published after the subpoena date. Further, he

argues that the subpoena imposes an undue burden because Nielsen has not demonstrated that Mr.

Maggio’s other companies not involved in television audience measurement have information

relevant to the case. (S-4, Ex. 4 at 6)

       Mr. Maggio also notes that Nielsen has issued a subpoena to Spark Capital, the company that


                                                  6
Case 8:05-cv-01123-S_B-E_J Document 113 Filed 07/03/07 Page 7 of 9 PageID 462




had planned to invest in erinMedia but pulled its funds, and it has taken the Fed. R. Civ. P. 30(b)(6)

deposition of Spark Capital. Further, ErinMedia is also responding to Nielsen’s request for

documents referenced in the February 2007 article. Although Mr. Maggio argues that these efforts

to obtain information from third parties do not undercut his objections on relevancy grounds, they

are at least a more direct route to obtain the subject information. (Id. at 6-13)

       After considering the applicable factors, such as relevance, burden on the responding

non-party, breadth of the document request, and the requesting party’s need for the documents,

the undersigned denied Nielsen’s motion to compel as to Requests 12 through 15. Although

Nielsen argues that Requests 12 and 13 call for the production of financial information that will

show Mr. Maggio’s ability to contribute financially to erinMedia, it does not show how such

personal financial information – some with no relation to erinMedia – would be relevant.

Nielsen could have obtained the information pertaining to the potential financing of erinMedia

from a more targeted request directed to Mr. Maggio or from discovery directed to erinMedia,

Mr. Maggio, ReacTV, or Spark Capital. See Am. Standard Inc. v. Humphrey, No. 3:06-cv-893-

J-32MCR, 2007 WL 1812506, at * 5-6 (M.D. Fla. June 22, 2007) (denying motion to compel

compliance with subpoena that requested tax returns and other financial information from

individual non-parties who allegedly financed company owned by defendant in violation of non-

compete provisions).

       Additionally, both parties make much of the February 2007 online article concerning

whether Nielsen’s DigitalPlus technology impacted erinMedia’s investment opportunities in

January and February of 2007. As Mr. Maggio points out, the controversy surrounding the issue

erupted after the subpoena date (in fact, Nielsen unveiled DigitalPlus after the subpoena date),


                                                  7
Case 8:05-cv-01123-S_B-E_J Document 113 Filed 07/03/07 Page 8 of 9 PageID 463




and it is clear that the article is what renewed Nielsen’s interest in Mr. Maggio’s subpoena

responses (see S-4, Ex. 10). A subpoena addresses itself to documents in existence as of the date

the subpoena is responded to, not documents created thereafter. See Alexander v. Fed. Bureau of

Investigation, 192 F.R.D. 37, 38 (D.D.C. 2000) (noting that a non-party responding to a

subpoena is under no duty to supplement discovery responses). Further, Nielsen does not

dispute that it has pursued evidence regarding investor financing from other non-party sources,

and erinMedia has also produced information pertaining to the article’s allegations (with

documents obtained from Mr. Maggio’s personal files), thus diminishing Nielsen’s need to

obtain the evidence from Mr. Maggio personally. On balance, Requests 12 and 13 are unduly

burdensome, and Nielsen’s motion to compel as to requests is denied.

       Nielsen’s motion is denied as to Requests 14 and 15 as well, which seek information

related to Mr. Maggio’s reputation in the business community. Nielsen alleges that it needs this

information because the controversial statements contained in the article, which was written by a

non-party with no connection to the instant litigation, have made it relevant. The court

disagrees. In addition to being irrelevant, the requests are unduly broad in that they seek not

only statements related to Mr. Maggio’s character that have been made during his participation

in erinMedia or another media company, but also during any other business venture he has had,

apparently stretching back at least to 1999. To respond to such requests would impose an undue

burden on Mr. Maggio.

III.   Conclusion

       Upon consideration, the court ORDERS that:

       (1)     Defendant Nielsen Media Research, Inc.’s sealed Motion to Compel


                                                 8
Case 8:05-cv-01123-S_B-E_J Document 113 Filed 07/03/07 Page 9 of 9 PageID 464




            Compliance with Subpoena (S-4) is DENIED. Further, the court directs the

            parties to show cause, on or before July 13, 2007, why the documents referred to

            in paragraph one of this order (S-4 and S-5), including any attachments, should

            not be unsealed.

      DONE and ORDERED in Tampa, Florida on this 3rd day of July, 2007.




                                            9
